From: Dominick Ratkowski

 

To: Luke Vetter
Subject: FW: Ad Hoc Committee on policing and systemic citizen members
Date: Monday, August 3, 2020 11:42:24 AM
Attachments: committee members.pdf
Zaynab Baalbaki.ipg
John Larry.ipa

 

 

Dominick Ratkowski
Crime Analyst
Wauwatosa Police Department

1700 N 116" st
Wauwatosa, WI 53226

Office: 414-607-7085
Cell: 414-688-0079
E-mail: dratkowski@wauwatosa. net

From: Dominick Ratkowski
Sent: Thursday, July 30, 2020 10:37 AM

To: Barry Weber <bweber@wauwatosa.net>; Luke Vetter <lvetter@wauwatosa.net>; Brian Zalewski
<bzalewski@wauwatosa.net>; Michael Schultz <mschultz@wauwatosa.net>
Subject: Ad Hoc Committee on policing and systemic citizen members

Just in case some one ask for proof that they are in the Peoples Revolution, | attached their

Facebook information as members in the group.

 

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Zaynab H Baalbaki (FW 5/8/1985)-”Founding Member” of the People’s Revolution
DOT as of 6/16/2020: 724 S 26th St.

Employment: Escuela Verde Advisor (3628 W Pierce St) $46,000 salary

zaynab@escuelaverde.org “is a teacher-powered school that focuses on social justice, sustainability, and peace”

Other Employment:

 

WAEE (WI Association for Environmental Education) board of Directors 2018-2020
http: //www.waee.org/board-of-directors

Educational Chair for the Milwaukee Urban League Young Professionals (where Tiffany Henry is President-see Farina’s body Cam from 7/7/2020
(20-013276)) Email: education@tmulyp.org

WCSS (Wisconsin Council for Social Studies) 2020 presentation on Activities for Global Citizenship: People, Food, Ener-

gy and sustainability https://wess2020.sched.com/event/ZscF /activities-for-global-citizenship-people-food-energy-and-sustainability
Education Degrees and course work:
Marquette: Master's Degree from the College Student Personnel/Student Affairs
Life in Kuwai https://marquetteeducator.wordpress.com/2012/07/04/life-in-kuwait-part-2/
University of Pennsylvania: Education, Culture and Society

Book Review: https:

 

University of WI-Madison: majors: Sociology, Elementary Education, Minors: Chicano & Latino Studies, Educa-
tional Police Studies

Likely attended the Young People’s Revolution Committee Rally on 9/7/17 to protest President Trump. YPRC is closely
linked to the Freedom Road Socialist Organization/FightBack!

Signee of Sociologists Issue Statement on Ferguson 1800+ Sociologists Demand Justice and Change in Policing of Communities of Color http://
docshareO1.docshare.tips/files/23745/237456935.pdf

Social Media
Twitter: https://twitter.com/intent/user?screen_name=zbaalbaki
Facebook: https://www.facebook.com/zhbaalbaki

LinkedIn: https://www.linkedin.com/in/zaynabbaalbaki?src=aff-lilpar&veh=aff_src.aff-lilpar_c.partners pkw.123201 plc.adgoal%
20GmbH_pcrid.449670 learning&trk=aff_src.aff-lilpar_c.partners_pkw.123201 plic.adgoal%

20GmbH_pcrid.449670 learning&clickid=\WzC1JxOQccxyORVZwUx0Mo 3bwUkiR5J2aEzplOU0&irgwc=1&challengeld=AQG61MKgDXjqigAAAXN3KB
QtalW9HvipXlOY 6mmawsnP4WioxSkoSWE8YaBm3ZEx-BHStDJosfygirMpA-L5nV9zjBmZLUsxXAw&submission|d=9f20d940-efic-2416-8bfb-
0330db471e1f

NEWaukeean article:
https://urbanmilwaukee.com/2018/03/05/newaukeean-of-the-week-zaynab-baalbaki/

Pintrist: https://www.pinterest.com/zbaalbaki/

KGIS: Traffic Stop in 877YSS (2007 Red Acura) by Greenfield (11/6/16) & Tosa Speeding Citation (10/15/2016)

CCAP: Small claims court 2018SC040164 Progressive Universal Insurance Company vs. Kasim H. Baalbaki et al-Action dismissed due to Plaintiff
and Defendant not in Court on 4/12/19

Milwaukee Muni court: Failed to Stop at Stop Sign 10/19/17 and speeding 6/23/2019

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LaSharle M Borg (FB 6/15/1973)

DOT as of 6/19/2000: 2466 N 47th St

TLO: 2466 N 47th St and 4421 N Woodburn St.

Husband: Peter Borg (BM 4/8/1971)

Employment: First Weber Realtors https://sharborg firstweber.com/

Represented Giannis Antetokounmpo when he was buying a $1.8 Million house https://www.latimes.com/business/
realestate/hot-property/la-fi-hotprop-giannis-antetokounmpo-milwaukee-mansion-20181103-story.html

 

Social Media:

Facebook: https://www.facebook.com/shar.borg.3
Instagram: https://www.instagram.com/sharborgteam/
CCAP:

20185C032139: Children's Hospital & Health System, Inc. vs. Lasharle Borg (def)-Action dismissed— defendant does not appear to have
appeared in court

2015TW001259: Dept. of Revenue vs. PETER BORG et al (def)-Peter Borg Civil Judgement-Delinquent Tax Warrant (24,292.45)

2012TW001978: Dept. of Revenue vs. PETER BORG et al— Same as above ($15,624.85)

2011TJO00904: City of Milwaukee vs. Lasharle M Borg

2010TW006436: Dept. of Revenue vs. PETER BORG et al ($2,051.83)

20108C032176: Milwaukee City vs. Lasharle Borg et al

2010TW004355: Dept. of Revenue vs. PETER BORG et al ($3,280.17)

2010CV004195: Wells Fargo Bank NA vs. Lasharle M Borg et al

2009SC009868: Wisconsin Electric Power Co vs. Lasharle Borg

2001CV002564: Peter Borg et al vs Peppertree Resort Villas Inc et al

Borg v Shorewest Realtors: 11-CV-00986 https: //www.leagle.com/decision/infdco20130628e64
KGIS:

Wauwatosa Witness to Hit & Run (19-024660); Traffic Stop— Speeding 2/9/2014 and operating unreg. 9/5/2010

South Milwaukee Traffic Stop 6/18/2013

Racine Sheriffs Traffic Stop— speeding 4/20/2016

Cederburg Traffic Stop— Speeding 1/7/2017

Ozaukee Traffic Stop— Speeding 8/30/2017

Elm Grove Traffic Stop— Speeding 6/26/2006

Bayside Traffic Stop— 10/1/2016

Fox Point Witness in Substantial Battery/Child Abuse (18-004799) 8/27/2018

Hales Corners Traffic Stop— Speeding 1/26/2012

Men. Falls Traffic Stop— 3/24/2013

Milwaukee Muni court: none

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John L Larry (MB 9/22/1980) member of People’s Revolution

DOT as of 8/1/2016: 4546 N 110th St (Facebook indicates he is origi-
nally from Chicago)

Wife: Maia Larry (BF 6/22/1982)

ae ea

 

Employment: Linked in shows New Testament Christian Academy:

 

Co-Curriculum Director/Middle School Language Arts Teacher but he is not listed on the school’s website

Possibly fired from HOPE Christian School for an unknown reason (https://www.ipetitions.com/petition/rehire-mr-larry)

 

Education: Grand Canyon University-Ph.D Educational Leadership and Administration; University of Phoenix— Master of Arts in
educational Studies and Judson University-BA in Worship Arts/youth Ministry

TLO: Criminal: Rock Island, IL 2002 Registration expiration (2002TR18150) and Driving with Expired Plates in Dupage County, I!
(2002TRO83525)

Per JSOnline: “Among those in the crowd was John Larry, 39, a former Milwaukee resident who now lives in Wauwatosa and has
gone to dozens of protests in support of Black Lives Matter. He said Morales has not engaged with residents, and the fact that he
wasn't fired Monday will just lead to more distrust in the community.” https://www.jsonline.com/story/news/2020/07/20/
uncertainty-hangs-over-police-chief-crises-build-milwaukee/5473422002/

TM1J4 article: https://www.tmj4.com/news/local-news/protesters-passion-reflecting-on-the-first-quarter-of-the-protest-journey
Social Media:

Facebook: https://www.facebook.com/john.larry/friends

OfferUp: https://offerup.com/p/7238078/

Linkedin: https://www.linkedin.com/in/john-larry-12485732/

KGIS: West Allis Impeding Traffic Citation 7/12/2020 in NA8240 White Dodge Truck (20-024629)

CCAP: Nothing

Milwaukee Muni court: nothing

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Lindsey D Draper (2/9/1952)
Employment: Public Defender at Milwaukee Trial Juvenile Health Division
Former circuit court commissioner for Milwaukee County

» Board Member at St. Charles

 

Attorney Coach, Wauwatosa West Mock Trial Team
Teacher, East Side Child and Youth Ministry (Middle School)
Standing Committee on Client Protection, American Bar Association (Chairmanship through August 2016)
National Client Protection Organization (Board Member)
Felmers Chaney Advocacy Board (Member)
Cathedral of St. John the Evangelist (Member)
Mock Trial Attorney Coach for Wauwatosa East
DOT as of 9/14/1991: 11111 W Courtland Ave
Also owns The Village Cheese Shop building
Endorsed Rebecca Kiefer for Circuit Court
Donations: Gave $100 to Joe Donald for Appellate Court Judge and $100 to Blackpast.org
Phoenix: Victim of Attempted Burglary (19-008451) and Hit & Run 00.001327
Other:
Around the Corner with John McGivern | Interview | #102 | Lindsey Draper
https://www.youtube.com/watch?v=cYamPRas9RU

Milwaukee Muni court: nothing

DEFS' RPD 026668
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